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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


DERRYL WATSON,

              Plaintiff,                             No. 16-13770

v.                                                   District Judge Linda V. Parker
                                                     Magistrate Judge R. Steven Whalen

CHARLES JAMSEN, ET AL.,

              Defendants.
                                          /

                                           ORDER

        On June 11, 2018, Plaintiff, a pro se prison inmate in this civil rights action brought

under 42 U.S.C. §1983, filed a second motion for appointment of counsel [Docket #68].

       Unlike criminal cases, there is no constitutional or statutory right to the appointment

of counsel in civil cases. Rather, the Court requests members of the bar to assist in

appropriate cases. In Lavado v. Keohane, 992 F.2d 601, 605-606 (6th Cir. 1993), the Sixth

Circuit noted that “[a]ppointment of counsel in a civil case is not a constitutional right. It is

a privilege that is justified only by exceptional circumstances.” (Internal quotations and

citations omitted).

       Plaintiff, noting that his first motion for appointment of counsel was denied as

premature, argues that since the first denial, the remaining defendants have requested a jury

trial. Docket #68. However, as stated in my earlier order, it is the practice of this Court to

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defer any attempt to obtain counsel for pro se civil rights plaintiffs until after motions to

dismiss or motions for summary judgment have been denied.             Because Defendants’

motion(s) for summary judgment are not due until November 15, 2018, Plaintiff’s motion

for appointment of counsel is premature.       If Plaintiff’s claims ultimately survive the

dispositive motions, he may renew his motion for appointment of counsel at that time.

       Accordingly,

       IT IS ORDERED that Plaintiff’s motion for appointment of counsel [Docket #68]

is DENIED WITHOUT PREJUDICE.


                                          s/ R. Steven Whalen
                                          R. STEVEN WHALEN
                                          UNITED STATES MAGISTRATE JUDGE
Dated: August 28, 2018



                            CERTIFICATE OF SERVICE

      I hereby certify that a copy of the foregoing document was sent to parties of
record on August 28, 2018, electronically and/or by U.S. mail.

                                          s/Carolyn M. Ciesla
                                          Case Manager to the
                                          Honorable R. Steven Whalen




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